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  AO 245B (Rev 12/03) Judgment in a Criminal Case
           Shecti



                                       United States District Court
                                                     SOUTHERN DISTRICT OF GEORGIA
                                                         STATESBORO DIVISION

           UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                       V.

                    Charlie Simmons                                            Case Number:              CR607-0003 1-021

                                                                               USM Number:               13459-021

                                                                               Dwight T. Feemster
                                                                               Defendants Attorney


  THE DEFENDANT:
[X]        pleaded guilty to Count 31.
  11       pleaded nolo conlendere to Count(s) - which was accepted
           by the court,
                                                                                                                                           C.
  11       was found guilty on Count(s)_ after a plea of not guilty.
                                                                                                                                           —4
                                                                                                                                 CD
  The defendant has been convicted of the following offense


             Title & Section               Nature of Offense                                         Offense Ended                Count

             18 U.S.C, § 513               Possession of'a counterfeit state security              November 22, 2005                  31

          The defendant is sentenced as provided in pages 2 through 5 ofthisjudgment. The sentence is imposed pursuant to the Sentencing
  Reform Act of 1984.

     1     The defendant has been found not guilty on count(s)_.
           Count 1 is dismissed on the motion of the United States,


           It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
  residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered
  to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.


                                                                                    June 26, 2009
                                                                                    Date of Imposition of Judgment



                                                                                    Signature of Judge



                                                                                    William T. Moore, Jr.
                                                                                    Chief Judge, U.S. District Court
                                                                                    Name and Title of judge



                                                                                    Date
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AO 245B (Rev 12/03) Judgment in a Criminal Case:                                                                                        Judgment-Page 2 of 5
        Sheet 4 - Probation


DEFENDANT: Charlie Simmons
CASE NUMBER: CR607-00031-021
                                                                   PROBATION
IThe defendant is hereby sentenced to probation for a term of 3 years

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled substance. The
defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests thereafter, as determined by the
court.

          The above drug testing condition is suspended, based on the court's determination that the del'endant poses a low risk offuture substance
          abuse. (Check, if applicable.)

1X1       The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Cheek, if applicable,)

          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

          The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student,
          as directed by the probation officer. (Check, if applicable.)

          The defendant shall participate in an approved prograrn for domestic violence. (Check, if applicable,)

           1fthisudgment imposes a fine or restitution, it is condition of probation that the defendant pay in accordance with the Schedule ot'Payments
sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as any additional conditions on the
attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;

2)        the defendant shall report to the probation officer and shall subrnitatruthful and complete written report within the First five days of each month

3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4)        the defendant shall support his or her dependents and meet other family responsibilities.

5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
          reasons;
6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, pOSSCSS, use, distribute, or administer any controlled substance
          or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of felony,
          unless granted permission to do SO by the probation oftieer
10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer:
11)       the defendant shall notify the probation oliicer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of law enforcement agency without the permission
          of the court;
13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
          or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
          with such notification requirement; and

14)       Any possession, use, or attempted use of any device to impede or evade drug testing shall be a violation ofprohation.
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        Sheet 4C - Probation


DEFENDANT: Charlie Simmons
CASE NUMBER: CR607-0003 1-021

                                           SPECIAL CONDITIONS OF SUPERVISION

          The defendant shall participate in a program of testing for drug and alcohol abuse and, if the Court
          determines it is necessary, the defendant shall participate in a program of treatment for drug and alcohol
          abuse.
2.        The defendant shall complete 150 hours of community service during the first 18 months of probation,
3.        The defendant shall provide the probation officer with access to any requested financial information. The
          defendant shall not incur new credit charges or open additional lines of credit without the approval of the
          probation officer unless the defendant is in compliance with the installment payment schedule.
4.        The defendant shall submit his person, residence, office, or vehicle to a search conducted by the United
          States Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion
          of contraband or evidence of a violation of a condition of release; failure to submit to a search may be
          grounds for revocation. The defendant shall warn any other residents that the premises may be subject to
          searches pursuant to this condition.


                                                    ACKNOWLEDGMENT
Upon finding of a violation of probation or supervised release, 1 understand that the court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.
These conditions have been read to me. 1 fully understand the conditions and have been provided a copy of them.


     (Signed)                                                          -
                    Defendant                                          Date




                    U. S. Probation Officer/Designated Witness         Date
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       Sheet 5 - Criminal Monetary Penalties

DEFENDANT: Charlie Simmons
CASE NUMBER: CR607-00031-021
                           CRIMINAL MONETARY PENALTIES
           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6,
                                                            Assessment                     Fine                   Restitution

    Totals:                                                         $ 100                                         $ 15,665.54

[    1 The determination of restitution is deferred until     , An AmendedJudgment in a Criminal Case (AO 245C) will be entered after
           such a determination.

[X] The defendant must make restitution (including community restitution) to the following payees in the amounts listed below.

          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
          otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal
          victims must be paid before the United States is paid.


                 Name of rglyee                    Total Loss*              Restitution Ordered                  Priority or Percentage

Gallagher and Bassett Services, Inc.                $21,327.54                    $ 15,665.54                             100%
Attn: Amir Abbassi
P.O. Box 30840
Laguna Hills, California 92654
(Claim No. 010515066916GK01)

                  Totals:                           $21,327.54                    $15,665.54                              100%



     j     Restitution amount ordered pursuant to plea agreement              $

[XJ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
        the fifteenth day after the date ofjudgment, pursuant to] 8 U.S.C. § 361 2(f). All of the payment options on Sheet 6 maybe subject
        to penalties for delinquency and default pursuant to 18 US.C, § 3612(g).
11      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

           11        The interest requirement is waived for the      { j fine     [ ] restitution.
           [ ]       The interest requirement for the    1 1 fine      1 1 restitution is modified as follows:

* Findings for the total amount 0 losses are required under Chapters 109A, 110. 1 IOA and 1 13A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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          Sheet 6 - Criminal Monetary Penalties


DEFENDANT: Charlie Simmons
CASE NUMBER: CR607-00031M21
                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A [X] Lump sum payment of$ $ 15,76554 due immediately, balance due

                  not later than       or
                1 in accordance with [ ] C, [ ] D, [ ] E, or 1 1 F below; or

B [ ] Payment to begin immediately (may be combined with 1 1 C, 1 1 D, or [ ] F below); or

C[ 1         Payment in equal - (e.g., weekly, monthly, quarterly) installments of Lover a period of_ (eg., months or years), to commence
              (e.g., 30 or 60 days) after the date of this judgment; or

D[ 1        Payment in equal (e.g., weekly, monthly, quarterly) installments ofLover a period of            (e.g., months or years), to commence
            —(e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E[       ] Payment during the term of supervised release will commence within - (eg,, 30 or 60 days) after release from imprisonment,
             the court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F[]         Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

     1      Joint and Several
                Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
               Aniount, and corresponding payee, if appropriate;


[ 1         The defendant shall pay the cost of prosecution,

[]          The defendant shall pay the following court cost(s):


11          The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest; (4) fine principal; (5) fine
interest; (6) community restitution; (7) penalties, and (8) costs, including cost of prosecution and court costs
